 Case 2:18-cv-11644-AJT-EAS ECF No. 6 filed 09/06/18        PageID.18   Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

DAIMEON MOSLEY,
                                                   CASE NO. 2:18-cv-11644
                    Plaintiff,

vs.                                             HON. ARTHUR J. TARNOW

OD OF MICHIGAN, INC., d/b/a OFFICE
                                                    MAG. ELIZABETH A.
DEPOT, a Delaware corporation,
                                                       STAFFORD
                    Defendant.


                 ORDER GRANTING JOINT MOTION FOR
           APPROVAL OF SETTLEMENT AND ORDER OF DISMISSAL

      THIS CAUSE came before the Court on the parties’ “Joint Motion For

Approval of Settlement and for Dismissal,” and the parties’ Settlement Agreement,

and the Court having reviewed the Settlement Agreement and the pleadings and

papers filed in this cause, being advised that the parties’ settlement expressly

requires this Court’s approval of the Settlement Agreement and retention of

jurisdiction to enforce the Settlement Agreement, as a condition precedent to the

effectiveness of their Settlement Agreement, it is hereby

      ORDERED AND ADJUDGED that:

      1.     This Court has reviewed and hereby approves the Settlement

Agreement entered into by the parties and directs the parties to comply with the

terms thereof.
 Case 2:18-cv-11644-AJT-EAS ECF No. 6 filed 09/06/18         PageID.19   Page 2 of 2




      2.    The Court retains jurisdiction over this matter for the purpose of

enforcement of the Settlement Agreement.

      3.    Subject only to the foregoing reservation, this action is otherwise

dismissed with prejudice, with no award of fees or costs to any party.

      IT IS SO ORDERED.



                                               s/Arthur J. Tarnow
                                               ARTHUR J. TARNOW
                                               SENIOR U.S. DISTRICT JUDGE
Dated: September 6, 2018


The undersigned stipulate to the entry of the above Order:



/s/ George T. Blackmore (w/ consent)         /s/ Gary C. Ankers
BLACKMORE LAW PLC                            LITTLER MENDELSON, P.C.
21411 Civic Center Drive                     200 Renaissance Center
Suite 200                                    Suite 3110
Southfield, MI 48076                         Detroit, MI 48243
248.845.8594                                 313.202.3222
george@blackmorelawplc.com                   ganskers@littler.com
(P76942)                                     (P41599)
Attorney for Plaintiff                       Attorneys for Defendant

Dated: September 6, 2018                     Dated: September 6, 2018




                                         2
